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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                           Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



               DECLARATION OF BRENT K. BECK IN SUPPORT OF COX’S
           OPPOSITION TO PLAINTIFFS’ FEBRUARY 1, 2019 MOTION TO COMPEL

               I, Brent K. Beck, declare as follows:


               1.      I am a Software Engineer II working at Cox Communications, Inc. I have worked

     for Cox since 2001, and I have been involved with Cox’s Cox Abuse Tracking System (“CATS”)

     since 2007. I submit this declaration in support of Cox’s opposition to Plaintiffs’ February 1,

     2019 motion to compel production of documents. I have personal knowledge of the facts stated

     in this Declaration, and if called as a witness, could testify competently to the matters contained

     herein.

               2.      My current job duties focus on providing hardware and software support for the

     Cox Abuse Tracking System (“CATS”). Cox’s Customer Abuse Team uses CATS to assist in its

     enforcement of the Cox Acceptable Use Policy. At its core, CATS is a system for handling

     emails received at abuse@cox.net. Persons with complaints about acts of alleged abuse on Cox’s

     network can submit their complaints to this e-mail address.




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